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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

United States of America                         §
                                                 §
vs.                                              §     NO: AU:22-CR-00187(1)-RP
                                                 §
(1) Steve Ray Shickles Jr.                       §


                                          ORDER


       It is ORDERED that the Motion SEALED EX PARTE (Doc. 21) filed on March 16, 2023,

is hereby REFERRED to United States Magistrate Judge Dustin Howell for resolution pursuant to

18 U.S.C. § 3006A(b), 28 U.S.C. § 636(b)(1)(A), and Rule 44 of the Federal Rules of Criminal

Procedure.

       SIGNED this 20th day of March, 2023.




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                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
